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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION


NORTHROP GRUMMAN SHIP                                                 PLAINTIFF
SYSTEMS, INC., formerly known as
Ingalls Shipbuilding, Inc.

v.                                                Civil No. 1:02cv785-HSO-RHW

THE MINISTRY OF DEFENSE OF THE
REPUBLIC OF VENEZUELA                                               DEFENDANT

THE MINISTRY OF DEFENSE OF THE
REPUBLIC OF VENEZUELA                                     COUNTER-CLAIMANT

v.

NORTHROP GRUMMAN SHIP
SYSTEMS, INC.                                           COUNTER-DEFENDANT

                              FINAL JUDGMENT

      In accordance with the Memorandum Opinion and Order Granting Plaintiff’s

Request for Entry of Final Judgment Pursuant to Federal Rule of Civil Procedure

58(d) entered herewith, the Court enters judgment pursuant to Federal Rule of Civil

Procedure 58. Accordingly,

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, judgment is

entered against Defendant The Ministry of Defense of the Republic of Venezuela in

the amount of $137,977,646.43, inclusive of pre-award interest, plus costs and fees.

This amount shall be subject to post-judgment interest pursuant to 28 U.S.C. § 1961,

accruing from the date of this Court’s March 31, 2020, Memorandum Opinion and

Order [406].
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      IT IS, FURTHER, ORDERED AND ADJUDGED that, Plaintiff Northrop

Grumman Ship Systems, Inc., f/k/a Ingalls Shipbuilding, Inc.’s claims for a

maritime lien and for injunctive relief are DISMISSED WITHOUT PREJUDICE.

      SO ORDERED AND ADJUDGED this the 4th day of June, 2020.


                                       s/Halil Suleyman Ozerden
                                       HALIL SULEYMAN OZERDEN
                                       UNITED STATES DISTRICT JUDGE
